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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

RICARDO SANCHES PATTERSON,
      Petitioner,
v.                                                 Case No. 4:20-cv-418-AW-MAF
JEFFREY ROSEN1, et al.,
     Respondents.
_______________________________/
                             ORDER OF DISMISSAL

      Ricardo Sanches Patterson petitioned for release. ECF Nos. 1, 4. Respondents

moved to dismiss, contending Mr. Patterson is no longer in custody and that the

matter is moot. ECF No. 8. Mr. Patterson has not responded to the motion. Nor has

he filed any objection to the magistrate judge’s Report and Recommendation (ECF

No. 10), which recommends I grant the motion.

      I have determined the Report and Recommendation should be adopted, and it

is now incorporated into this order. The clerk will enter a judgment that says “The

habeas petition is dismissed as moot.” The clerk will then close the file.

      SO ORDERED on January 2, 2021.

                                       s/ Allen Winsor
                                       United States District Judge


      1
       Among the respondents was United States Attorney General William Barr.
ECF Nos. 1, 4. Because the Attorney General was sued in his official capacity, his
successor is automatically substituted as a party. Fed. R. Civ. P. 25(d).
